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              Exhibit D
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LLC FILE DETAIL REPORT
File Number            05111404

Entity Name            PHOENIX COMMODITIES USA LLC

Status                 ACTIVE                         On                             03/20/2018

Entity Type            LLC                            Type of LLC                    Foreign

File Date              04/06/2015                     Jurisdiction                   OH

Agent Name             ILLINOIS REGISTERED AGENT      Agent Change Date              04/06/2015
                       INC

Agent Street Address   5405 WEST MARGARET             Principal Office               129 PINCKNEY ST
                       STREET                                                        CIRCLEVILLE, OH 43113

Agent City             MONEE                          Managers                         View

Agent Zip              60449                          Duration                       PERPETUAL

Annual Report Filing   03/20/2018                     For Year                       2018
Date

Series Name            NOT AUTHORIZED TO ESTABLISH SERIES

Return to the Search Screen                                              Purchase Certificate of Good Standing
                                                                              (One Certificate per Transaction)


OTHER SERVICES

 File Annual Report


 Adopting Assumed Name


 Articles of Amendment Effecting A Name Change


 Change of Registered Agent and/or Registered Office Address



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LLC MANAGERS
 Entity Name         PHOENIX COMMODITIES USA LLC       File Number             05111404

Name                       Address
DHAWAN, GAURAV             44TH FL BLDG AA1 MAZAYA BUS AV, DUBAI, AO - 999990000
NAJUNGUD, RAMENDAR         44TH FL BLDG AA1 MAZAYA BUS AV, DUBAI, AO - 999990000
GAGAD, SUSHANT             2ND FL KINETA TOWERS, TELANGANA, IN - 999990000


                                                                                          Close

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